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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     BRENDA WEKLSER
 3   Assistant Federal Public Defender
     Nevada State Bar No. 8124
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
     (702) 388-6261/Fax
 6
 7   Attorney for Joseph A. Strickland

 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                              Case No. 2:16-mj-083-CWH

12                  Plaintiff,                              STIPULATION TO CONTINUE
                                                            PRELIMINARY HEARING
13          v.
                                                            (Third Request)
14   JOSEPH A. STRICKLAND,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden,
18   United States Attorney, and Lisa Cartier-Giroux, Assistant United States Attorney, counsel for
19   the United Stated of America, and Rene L. Valladares, Federal Public Defender, and Brenda
20   Weksler, Assistant Federal Public Defender, counsel for Joseph A. Strickland, that the
21   Preliminary Hearing currently scheduled on Monday, May 16, 2016 at 4:00 p.m., be vacated
22   and continued to a date and time convenient to the Court, not earlier than fourteen (14) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Since the filing of the previous stipulation, undersigned defense counsel needs
25   additional time to investigate and review discovery.
26
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 1           2.     Counsel for the defendant will require additional time to meet with the client to
 2   review and discuss this information in detail prior to proceeding.
 3           3.     Defendant is incarcerated and does not object to a continuance.
 4           4.     Both parties agree to the continuance.
 5           5.     Additionally, denial of this request for continuance could result in a miscarriage
 6   of justice.
 7           This is the third request for continuance filed herein.
 8           DATED this 9th day of May, 2016.
 9
10    RENE L. VALLADARES                               DANIEL G. BOGDEN
      Federal Public Defender                          United States Attorney
11
12       /s/ Brenda Weksler                               /s/ Lisa Cartier-Giroux
      By_____________________________                  By_____________________________
13    BRENDA WEKSLER                                   LISA CARTIER-GIROUX
      Assistant Federal Public Defender                Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:16-mj-083-CWH
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     JOSEPH A. STRICKLAND,
 7
                   Defendant.
 8
 9
10          Based on the Stipulation of counsel and good cause appearing,

11          IT IS THEREFORE ORDERED that the Preliminary Hearing currently scheduled on

12                                                                              June 2, 2016,at
     Monday, May 16, 2016 at the hour of 4:00 p.m., be vacated and continued to ___________

13               4:00 p.m.
     the hour of _______.

14                      10th of May, 2016.
            DATED this ______

15
16
                                                UNITED STATES MAGISTRATE JUDGE
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